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                            UNITED STATES DISTRICT COURT
                             THE DISTRICT OF NEW JERSEY


   DARYL “CARMELO” MURRAY,

                          Plaintiff,
   v.                                                    Civil Action No.

   AMAZON.COM SERVICES LLC; LUCIAN J.                    NOTICE OF REMOVAL
   INTROCASO, Individually and as a Medical
   Director for Worknet Occupational Medicine –
   Pennsauken; and JOHN and JANE DOES (1-                Electronically Filed
   5),

                          Defendants.


 TO:    THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT
        COURT FOR THE DISTRICT OF NEW JERSEY

        PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Defendant

 Amazon.com Services LLC (referred to herein as “Amazon”), by and through its attorneys,

 Morgan, Lewis & Bockius LLP, hereby give notice of removal of this matter to the United States

 District Court for the District of New Jersey from the Superior Court of New Jersey, Law Division,

 Burlington County. The grounds for removal are as follows:
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                                  PROCEDURAL BACKGROUND

          1.       Pursuant to Rule 10.1(a) of the Local Civil Rules, the addresses of the named parties

 are as follows:

                   a.     Amazon is a limited liability company whose only member—Amazon.com

 Sales, Inc.—is incorporated in Delaware and has its principal place of business in Washington.

 Amazon is represented in this matter by Richard G. Rosenblatt, Jason J, Ranjo, and Carlyle W.

 Edwards-Balfour, of Morgan, Lewis & Bockius LLP, 502 Carnegie Center, Princeton, New Jersey

 08540.

                   b.     Plaintiff Daryl “Carmelo” Murray (“Plaintiff”) alleges that he resides in

 New Jersey. Compl. ¶ 4. Plaintiff is acting pro se in this matter.

                   c.     Plaintiff alleges that Defendant Lucian Introcaso (“Dr. Introcaso”) is

 domiciled in New Jersey. Am. Compl. ¶ 12.

          2.       Plaintiff commenced this action on October 24, 2022 by filing a Complaint and

 Jury Demand (“Complaint”) in the Superior Court of New Jersey, Law Division, Burlington

 County, captioned as Daryl “Carmelo” Murray v. Amazon.com Services LLC and John and Jane

 Does (1-5), Docket No. BUR-L-002009-22. A true and correct copy of the Complaint attached as

 Exhibit A.

          3.       Plaintiff served Amazon with the Summons and Complaint on November 18, 2022.

 A true and correct copy of the Affidavit Service is attached as Exhibit B.

          4.       On November 30, 2022, Plaintiff filed a First Amended Complaint (“Amended

 Complaint”) adding one claim (Count V) and one individual defendant, Dr. Introcaso. A true and

 correct copy of the Amended Complaint is attached as Exhibit C.




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        5.      On December 8, 2022, Plaintiff filed an Affidavit of Service for the Amended

 Complaint as to Amazon. A true and correct copy of the Affidavit of Service is attached as Exhibit

 D.

        6.      On December 12, 2022, Plaintiff filed an Affidavit of Service for the Amended

 Complaint as to Dr. Introcaso. A true and correct copy of the Affidavit of Service is attached as

 Exhibit E.

        7.      The only other proceeding that has occurred in the Superior Court of New Jersey,

 Burlington County since Plaintiff filed his Complaint is the issuance of a Track Assignment. The

 Track Assignment Notice is attached hereto as Exhibit F and, along with the other aforementioned

 Exhibits, constitutes the entirety of the process, pleadings, and orders that Defendant has received

 in this case to date. See 28 U.S.C. § 1447(b).

        8.      The Amended Complaint asserts claims against Amazon under the New Jersey Law

 Against Discrimination (“NJLAD”) as well as a common law claim for breach of implied covenant

 of good faith and fair dealing. Specifically, Count I alleges failure to accommodate an alleged

 disability under the NJLAD, Count II alleges constructive discharge under the NJLAD, Count III

 alleges a common law claim for breach of implied covenant of good faith and fair dealing, and

 Count IV alleges unlawful discharge and retaliation under the NJLAD. Exh C., at ¶¶ 59-147. All

 of those claims are asserted against Amazon.          Count V asserts a claim for “Fraudulent

 Concealment, Alteration, Falsification and/or Destruction of Patient Medical Records Evidence

 and a Violation of N.J.S.A. 2C:21-4.1” against Amazon and Dr. Introcaso.

                                  GROUNDS FOR REMOVAL

        9.      Section 1441(a) of Title 28 of the United States Code provides in relevant part that

 “any civil action brought in a State court of which the district courts of the United States have




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 original jurisdiction, may be removed by the defendant . . . to the district court of the United States

 for the district and division embracing the place where such action is pending.”

            10.      Federal district courts have original jurisdiction over all civil actions where the

 matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is

 between citizens of different states. See 28 U.S.C. § 1332(a).

            11.      Amazon removes this action in accordance with 28 U.S.C § 1332(a) on the grounds

 that the amount in controversy in this matter exceeds $75,000, and Plaintiff and the only properly

 joined Defendant are citizens of different states.

       I.         Citizenship

            12.      “Whether diversity jurisdiction exists is determined by examining the citizenship

 of the parties at the time the complaint was filed.” Midlantic Nat. Bank v. Hansen, 48 F.3d 693,

 696 (3d Cir. 1995).

            13.      Plaintiff, at the time of filing of the Amended Complaint, was a citizen of the State

 of New Jersey. See Exh. C, ¶ 4.

            14.      Amazon.com Services LLC, as of the date of the Amended Complaint, was a citizen

 of Delaware and Washington because it is a limited liability company whose only member is

 incorporated in Delaware and has its principal place of business in Washington. See Zambelli

 Fireworks Mfg. Co. v. Wood, 592 F.3d 412, 420 (3d Cir. 2010) (for the purposes of diversity

 jurisdiction under 28 U.S.C. § 1332(a), “the citizenship of an LLC is determined by the citizenship

 of its members.”); GBForefront, L.P. v. Forefront Mgmt. Grp., LLC, 888 F.3d 29, 34 (3d Cir.

 2018) (“The citizenship of a corporation is both its state of incorporation and the state of its

 principal place of business…. [A] limited liability company is a citizen of all the states of its

 members.”).




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        15.     Upon information and belief, Dr. Introcaso is a citizen of New Jersey, but his

 citizenship is immaterial to the diversity analysis because he was joined fraudulently. In re

 Briscoe, 448 F.3d 201, 215-16 (3d Cir. 2006) (“If the district court determines that the joinder was

 ‘fraudulent’ in this sense, the court can ‘disregard, for jurisdictional purposes, the citizenship of

 certain nondiverse defendants, assume jurisdiction over a case, dismiss the nondiverse defendants,

 and thereby retain jurisdiction.’”) (quotation marks and citation omitted). As Amazon will fully

 establish in a forthcoming motion to dismiss, Dr. Introcaso has been fraudulently joined because

 “there is no reasonable basis in fact or colorable ground supporting the claim against” him. Id.

        16.     Specifically, Plaintiff has premised Count V—the only claim against Dr.

 Introcaso—on a criminal statute, N.J.S.A. 2C:21-4.1, that has no private right of action. See

 Okocha v. Lab’y Corp. of Am., No. CIV A 06-1791 (JLL), 2008 WL 3843068, at *2 (D.N.J. Aug.

 15, 2008) (noting lack of authority for “whether a private right of action is authorized by the

 particular penal statute [N.J.S.A. 2C:21–4.1] on which Plaintiff relies in support of his falsification

 of medical records claim”), aff’d, 313 F. App’x 453 (3d Cir. 2009).

        17.     To the extent Count V is grounded in common law fraud, none of Plaintiff’s

 allegations against Dr. Introcaso are actionable. To assert a viable claim for common law fraud, a

 plaintiff must aver with specificity, among other things, the existence of “a material

 misrepresentation of a presently existing or past fact,” and that the defendant had knowledge or

 belief “of its falsity.” Schenkel v. Flaster, 54 F. App’x 362, 364 (3d Cir. 2002) (internal quotation

 marks omitted).

        18.     Here, Plaintiff alleges that Dr. Introcaso—who worked for an independent

 healthcare provider, WorkNet—“conspired with [unknown individuals] to conduct a fraudulent

 examination of Plaintiff, in which Introcaso would conclude, regardless of the facts, and without




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 having physically examined Plaintiff, that Plaintiff had no work-related disability.” Am. Compl.

 ¶ 112. However, Dr. Introcaso’s allegedly fraudulent statements, even as alleged, cannot form the

 basis of a common law fraud claim.

        19.     Almost all of the allegedly fraudulent statements are immaterial to Plaintiff’s claim

 that Dr. Introcaso conspired to deny his workers’ compensation claim on the grounds that his

 alleged leg injury was not work related. See id. ¶¶ 113, 115, 116, 118, 119, 121, 122, 127, and

 127.

        20.     In addition, paragraph 124 of the Amended Complaint about Dr. Introcaso’s

 purported medical opinion regarding the condition of Plaintiff’s allegedly injured leg contains only

 conclusory allegations that Dr. Introcaso’s opinion was inaccurate, and nothing in the Amended

 Complaint suggests the opinion was intentionally false.

        21.     Even if Plaintiff had alleged plausible facts that Dr. Introcaso’s evaluation were

 intentionally false, his opinion about the condition of Plaintiff’s leg would constitute a medical

 opinion, not a statement of fact upon which a fraud claim can be based. See Rothman v. Silber, 90

 N.J. Super. 22, 36 (App. Div. 1966) (holding that physician’s statement that headaches and other

 pain were “after-effects of childbirth and would pass away” constituted “no more than a medical

 opinion and, in the absence of additional facts not present in the record, they could not rise to the

 status of a fraudulent concealment”); see also generally Berroyer v. Hertz, 672 F.2d 334, 341 (3d

 Cir. 1982) (recognizing that medical opinion was “a question of professional judgment-which, if

 in error, may be negligence but is generally insufficient upon which to base punitive damages”

 and “does not resemble intentional fraud in the criminal sense”).

        22.     There are no other named parties in the case. See Exh. C.




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            23.      Accordingly, this action is between “citizens of different states.” 28 U.S.C.

 § 1332(a)(1).

      II.         Amount in Controversy

            24.      In the Amended Complaint, Plaintiff seeks monetary damages. Specifically, the

 Amended Complaint seeks “compensatory damages including lost wages and benefits, and

 emotional distress damages,” as well as “triple damages,” punitive damages, expert fees, attorneys’

 fees, and costs, and “other relief as this Court may deem just and proper.” See Exh. C., at

 Wherefore clauses.

            25.      Plaintiff alleges that the compensatory damages he seeks “in a total amount” do

 “not to exceed $75,000.” See Exh. C, at Wherefore clauses. However, “that is not the end of the

 . . . inquiry.” Collins v. Bob’s Disc. Furniture, Secaucus, New Jersey, No. CV203487MCALDW,

 2020 WL 6275210, at *3 (D.N.J. Sept. 23, 2020), report and recommendation adopted sub nom.

 Collins v. Bobs Disc. Furniture, Secaucus, New Jersey, No. CV 20-3487(MCA), 2020 WL

 6273826 (D.N.J. Oct. 26, 2020).

            26.      The amount in controversy is determined by “examin[ing] both ‘the dollar figure

 offered by the plaintiff’ and plaintiff’s ‘actual legal claims.’” Hoffman v. Lumina Health Prod.,

 Inc., No. CIV.A. 13-04936 SRC, 2013 WL 5773292, at *2 (D.N.J. Oct. 24, 2013).

            27.      In terms of lost wages, Plaintiff alleges that he “sustained lost wages . . . in the

 amount of approximately $86,700.” See Exh. C., ¶ 51. This alone exceeds the statutory threshold.

            28.      Plaintiff also seeks, among other things, punitive damages, attorneys’ fees, and

 emotional distress damages, all of which are recoverable under the NJLAD and must be considered

 when calculating the amount in controversy. See Uddin v. Sears, Roebuck & Co., No. CIV.A. 13-

 6504 JLL, 2014 WL 316988, at *5 (D.N.J. Jan. 27, 2014) (“Because punitive damages are




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 recoverable in certain circumstances under NJLAD, punitive damages must also be considered

 when determining the amount in controversy. Under New Jersey law, punitive damages can total

 up to five times the compensatory damages. Additionally, Mr. Uddin seeks attorney’s fees in this

 count and these fees may be considered when determining the amount in controversy. The Third

 Circuit has held that fees can be estimated as high as 30% of the judgment when making this

 calculation.” (citations omitted)); Hann v. Home Depot, No. 1:18-CV-10223-NLH-JS, 2019 WL

 479348, at *3 (D.N.J. Feb. 7, 2019) (considering emotional distress damages as part of the amount

 in controversy because “[t]he Supreme Court of New Jersey has held that damages for emotional

 distress in a discrimination case falls within a wide spectrum of acceptable outcomes . . . .”).

        29.     Based on the allegations pled in the Amended Complaint and the relief Plaintiff

 seeks, the amount in controversy in this action, exclusive of interest and costs, exceeds the sum of

 $75,000.00. See Rodriguez v. Burlington Cty. Corr. Dep’t, 2015 WL 790521, at *3 (D.N.J. Feb.

 25, 2015), reconsideration dismissed, 2015 WL 5297271 (D.N.J. Sept. 9, 2015) (holding that the

 employee-plaintiff’s potential damages could “easily exceed” $75,000 where the plaintiff sought

 compensatory damages for lost wages and fringe benefits, front and back pay, future benefits, loss

 of earning capacity, damages for emotional and physical distress, damage to reputation, pain and

 humiliation damages, punitive damages, and attorney’s fees); Uddin v. Sears, Roebuck & Co.,

 2014 WL 316988, at *5 (D.N.J. Jan. 27, 2014) (denying a motion to remand and finding that the

 employee-plaintiff could potentially recover two months of back pay, punitive damages, and

 attorney’s fees such that his total damages could exceed the jurisdictional threshold).

        30.     Because the citizenship of the parties is diverse, and it does not appear to a legal

 certainty that Plaintiff cannot recover at least $75,000, this action is properly removed on diversity

 grounds. See 29 U.S.C. § 1332.




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                ALL OTHER REMOVAL PREREQUISITES ARE SATISFIED

         31.     Venue is proper in this Court under 28 U.S.C. §§ 1391 and 1441(a) because the

 United States District Court for the District of New Jersey is the federal judicial district embracing

 the Superior Court of New Jersey, Burlington County, where Plaintiff originally filed this action,

 and a substantial part of the alleged events or omissions giving rise to Plaintiff’s claims are alleged

 to have occurred in this judicial district.

         32.     In accordance with 28 U.S.C. § 1446(b), this Notice of Removal is timely filed

 because fewer than thirty (30) days have elapsed since Plaintiff served the Complaint on November

 18, 2022.

         33.     Pursuant to 28 U.S.C. § 1446(d), Amazon is simultaneously filing copies of all

 process, pleadings, and orders existing on file in the State court in this removed action. Further,

 pursuant to 28 U.S.C. § 1446(d), Amazon will file a true and correct copy of this Notice of

 Removal with the Clerk of the Superior Court of New Jersey, Law Division, Burlington County

 and will properly give Plaintiff written notice of this filing.

         34.     By filing a Notice of Removal in this matter, Amazon does not waive, and expressly

 reserves, its right to assert any and all defenses and/or objections in this case, including its right to

 contest personal jurisdiction, service of process, and the sufficiency of service of process.

         35.     Further, Amazon respectfully requests an opportunity to conduct limited discovery

 and submit additional argument or evidence on the issue of removal and/or diversity jurisdiction

 if Plaintiff challenges this Notice of Removal, and such discovery or argument becomes necessary.

         36.     The undersigned is counsel for, and is duly authorized to effect removal on behalf

 of, Amazon.




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         37.     Whether Dr. Introcaso consents to removal is immaterial. See Doughtery, Clifford

  & Wadsworth, Corp. v. Magna Grp., Inc., No. CIV. 07-1068HAA, 2007 WL 2579406, at *3

  (D.N.J. June 19, 2007) (“The unanimity rule may be disregarded where . . . a defendant has been

  fraudulently joined.”), report and recommendation adopted, No. CIV A 07-1068 HAA, 2007 WL

  2300719 (D.N.J. Aug. 6, 2007).

         WHEREFORE, Amazon hereby removes this action from the Superior Court of New

  Jersey, Burlington County, Law Division, and submits the foregoing to this Court’s jurisdiction

  for further proceedings.

                                        MORGAN, LEWIS & BOCKIUS LLP
   Dated: December 16, 2022              s/ Jason J. Ranjo
                                        Richard G. Rosenblatt
                                        Jason J. Ranjo
                                        Carlyle W. Edwards-Balfour
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                                        Princeton, New Jersey 08540
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                                        Attorneys for Amazon.com Services LLC




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                                       CERTIFICATION

         Pursuant to Local Civil Rule 11.2, the undersigned hereby certifies that the following

  administrative action before the New Jersey Department of Law & Public Safety, Division on Civil

  Rights asserts claims by Plaintiff against Amazon for disability discrimination and failure to

  accommodate an alleged disability in violation of the NJLAD: Daryl Murray v. Amazon, Docket

  No. EC05WB-68011.



   Dated: December 16, 2022                        s/ Jason J. Ranjo
                                                       Jason J. Ranjo
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                                   CERTIFICATE OF SERVICE

         I, Jason J. Ranjo, hereby certify that on the date indicated herein, the foregoing Notice of

  Removal with attached exhibits, Local Civil Rule 11.2 Certification, and Civil Cover Sheet were

  electronically filed via the Court’s ECF filing system and a copy sent via First Class Mail to the

  following Plaintiff of record:

                             Daryl Murray
                             2 Bell Lane
                             Burlington NJ 08016

                             Plaintiff, acting pro se


   Dated: December 16, 2022                             /s/ Jason J. Ranjo
                                                            Jason J. Ranjo
